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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


LISA WALTERS, SECOND
AMENDMENT FOUNDATION, and
FIREARMS POLICY COALITION,                  CIVIL ACTION FILE
INC.,
                                            No. 1:20-CV-1624-SCJ
     Plaintiffs,

v.

BRIAN KEMP,
in his official capacity as Governor of
The State of Georgia,
GARY VOWELL,
in his official capacity as Commissioner
of the Department of Public Safety and
Colonel of the Georgia State Patrol,
CHEROKEE COUNTY, GEORGIA, and
KEITH WOOD, in his official capacity
as Judge of the Probate Court of
Cherokee County,

     Defendants.


                                    ORDER

        This matter appears before the Court on Plaintiffs’ Motion for Temporary

Restraining Order (“TRO”) or Preliminary Injunction and request for immediate
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hearing (Doc. No. [2]).

      Pursuant to Federal Rule of Civil Procedure 65, the Court will hold an

evidentiary hearing on Monday, April 27, 2020 at 10:30 a.m. via videoconference.

Counsel will receive an email from the Court with an invitation to the meeting

and instructions on how to join the videoconference.

      It appears that all named Defendants have been served. See Doc. Nos. [4];

[12]. Plaintiffs shall also serve a copy of the Complaint, Motion (at Doc. No. [2]),

and this Order on the Attorney General of the State of Georgia in his capacity as

the chief law enforcement officer and lawyer for the state.

      Defendants are ORDERED to file any response briefs to Plaintiffs’

Motion no later than Friday, April 24, 2020 at 3:00 p.m. The Court also asks

that the parties file any exhibits to the docket using CM/ECF’s “Notice”

function before Monday’s hearing.          Any exhibits should be marked and

numbered before filing.
                                           21st
             IT IS SO ORDERED this                day of April, 2020.


                                           s/Steve C. Jones

                                       HONORABLE STEVE C. JONES
                                       UNITED STATES DISTRICT JUDGE


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